 8:08-cr-00053-LSC-FG3        Doc # 28     Filed: 04/22/08   Page 1 of 1 - Page ID # 49



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                    8:08CR53
       vs.                                  )
                                            )                     ORDER
PATRICIA LYNN JOHNSON,                      )
                                            )
                                            )
                     Defendant.


      This matter is before the court on defendant's MOTION [27] FOR EXPANSION OF TIME
TO FILE PRETRIAL MOTIONS. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 10-day extension. Pretrial
Motions shall be filed by May 1, 2008.

       IT IS ORDERED:

       1.    Defendant's MOTION [27] FOR EXPANSION OF TIME TO FILE PRETRIAL MOTIONS
is granted. Pretrial motions shall be filed on or before May 1, 2008.

       2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between April 21,
2008 and May 1, 2008, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 22nd day of April, 2008.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
